       Case 19-14401          Doc 12       Filed 05/22/19 Entered 05/22/19 13:57:17                         Desc Main
                                             Document     Page 1 of 1



                              IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION


 In re: Edmond Knox                                            )            Case No. 19-14401
                                                               )
                                                               )            Chapter 13
                                                               )
 SSN: XXX-XX- 8478                             Debtors         )            Honorable Donald R. Cassling



                              ORDER TO EMPLOYER TO PAY THE TRUSTEE

 To: Chicago Public Schools
     42 W. Madison St.
     Chicago, IL 60602

        Attn: Payroll Department

 WHEREAS, the above named debtor has VXEPLWWHG a plan to pay his/her debts out of his/her future earnings,
 and by his/her plan submits all of his/her future earnings to the supervision and control of this Court for the
 purpose of carrying out the Plan:

                                                                              Chicago Public Schools
 NOW IT IS THEREFORE ORDERED, that until further order of this Court,BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,
                 Edmond Knox
 employer of BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB,        deduct from the earnings of the debtor the sum of $BBBBBBBBBBBB
                                                                                                              93.00
 bi-weekly beginning on the next pay day following the receipt of this order and to pay the sum so deducted to ,
 Tom Vaughn, Trustee at least once a month at the following address:

                                        Tom Vaughn Chapter 13 Trustee
                                                   P.O. Box 588
                                              Memphis, TN 38101-0588

 IT IS FURTHER ORDERED, that the employer shall stop or change the deduction upon written notice from the
 Trustee;

 IT IS FURTHER ORDERED, that the employer shall notify the Trustee if the employment of the debtor is
 terminated and the reason for such termination;

 IT IS FURTHER ORDERED, that all earnings of the debtor, except amounts required to be withheld by the
 provisions of Federal or State law or for insurance, pension or union dues, be paid to the debtor and that no
 deduction other than authorized or directed by this order be made by the employer.
                                                               )257+(&2857



 Date                    5/22/2019                                                                         AG

 Entered:
                                                                Jeffrey Allsteadt, Clerk, United States Bankruptcy Court

'HEWRURUAttorney Signature______________________
                            /s/Tarek Khalil, Attorney                                         05/21/2019
                                                                                         Date:BBBBBBBBBBBBBBB

  ✔     ,DJUHHWRHQWU\RIWKLVRUGHUZLWKRXWIXUWKHUQRWLFHRUKHDULQJ

       Check this box if the debtor has agreed to the entry of this order without further notice or hearing through Section
       I of the Chapter 13 Plan.
'PSN/P
